Case 2:10-cr-20014-DPH-VMM ECF No. 634, PageID.4062 Filed 10/22/13 Page 1 of 4




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                       Plaintiff,

 V.                                                 Case No. 10-CR-20014-D15
                                                    Honorable Denise Page Hood
 RICHARD SHANNON-D15,

                    Defendant.

                                                    /

                       ORDER DENYING MOTIONS
                     FOR BOND PENDING SENTENCING


 I.    BACKGROUND

       On October 26, 2012, Defendant Richard Shannon was convicted of one count

 of conspiracy to commit health care fraud. On April 23, 2013, the Court entered an

 order denying Shannon’s Motion for Judgment of Acquittal or for New Trial. This

 matter is before the Court on Shannon’s Renewed Motion for Release on Bond

 Pending Sentencing. The Court previously denied Shannon’s request to be placed on

 bond pending sentencing at a hearing on July 9, 2013. At the hearing, the Court also

 granted Shannon’s request for new counsel.

       New counsel filed the instant Renewed Motion for Release on Bond Pending
Case 2:10-cr-20014-DPH-VMM ECF No. 634, PageID.4063 Filed 10/22/13 Page 2 of 4




 Sentencing filed September 25, 2013. Shannon thereafter filed a “pro se” written

 document to support his request for release pending sentencing. Shannon’s sentencing

 is scheduled for October 29, 2013.

 II.   HYBRID REPRESENTATION

       It is well-established that a criminal defendant accused of a felony has a

 constitutional right under the Sixth Amendment to be represented by counsel and to

 have counsel appointed for him if he cannot afford one or, alternatively, to represent

 himself in such proceedings. Faretta v. California, 422 U.S. 806 (1975). However,

 a criminal defendant does not have a right to hybrid representation. See, United States

 v. Mosely, 810 F.2d 93, 98 (6th Cir. 1987)(Defendant, although a lawyer, was

 represented by counsel and the Sixth Circuit found that there is potential for undue

 delay and jury confusion when more than one attorney tries a case); United States v.

 Green, 388 F.3d 918-922023 (6th Cir. 2004). A court’s discretion to reject hybrid

 representation may apply to the filing of motions. See, United States v. Agofsky, 20

 F.3d 866, 872 (8th Cir. 1994)(The court refused to consider motions filed by

 defendant’s mother). The Sixth Circuit’s analysis in Mosely can be extended to the

 filing of motions. See, United States v. Safiedine, 2008 WL 324161 *1 (E.D. Mich.

 Case No. 06-20137, Feb. 6. 2008) (unpublished).

       Given that Shannon is represented by counsel, the Court will not consider any


                                           2
Case 2:10-cr-20014-DPH-VMM ECF No. 634, PageID.4064 Filed 10/22/13 Page 3 of 4




 requests filed “pro se” by Shannon.

 III.   BOND PENDING SENTENCING

        The defense acknowledged that 18 U.S.C. § 3143(a)(1) applies in this instance

 which requires that a defendant be detained unless the judicial officer finds “by clear

 and convincing evidence that the person is not likely to flee or pose a danger to the

 safety of any other person or the community.” 18 U.S.C. § 3143(a)(1). The defense

 argues that the Court found previously on the record that Shannon was not a flight

 risk, even though he is facing a long sentence. (Doc. #614, 7/9/13 Tr. at 15) The

 defense further argues that although the Court found that Shannon was a danger to the

 community because he was arrested for a crime involving possession of drugs, the

 Court could impose appropriate bond restrictions which would minimize the danger

 to the community. The defense notes that Shannon is in need of serious medical

 attention, without specifying or supporting with any documentation the medical

 condition. It is noted that during the July 9, 2013 hearing, medical issues were also

 raised. In his “pro se” document to the Court, Shannon asserts he has a hernia

 condition and that he has yet to hear from the U.S. Marshal’s office as to when the

 hernia surgery can be scheduled.

        Shannon raises the same arguments as in his previous motion for bond pending

 sentencing. Other than the medical issue, Shannon has raised nothing new. It appears


                                           3
Case 2:10-cr-20014-DPH-VMM ECF No. 634, PageID.4065 Filed 10/22/13 Page 4 of 4




 that the U.S. Marshal is able to assist Shannon with this issue. Shannon has not

 presented clear and convincing evidence that he is not a danger to the community as

 this Court ruled at the previous bond request hearing. As this Court previously noted,

 Shannon committed another crime while on bond in this case. In addition, at the time

 the instant motion was filed, Shannon’s sentencing was a month away. The October

 29, 2013 sentencing is scheduled to move forward.

       Accordingly,

       IT IS ORDERED that Defendant Richard Shannon’s Motion for Bond

 Modification and Revocation of Detention Order (Doc. No. 585, 5/31/2013) is

 DENIED for the reasons set forth on the record on July 9, 2013.

       IT IS FURTHER ORDERED that Defendant Richard Shannon’s Renewed

 Motions for a Hearing to be Released on Bond Pending Sentencing (Doc. No. 627,

 9/25/13; Doc. No. 633, 10/16/2013) are DENIED.

                           S/Denise Page Hood
                           Denise Page Hood
                           United States District Judge

 Dated: October 22, 2013

 I hereby certify that a copy of the foregoing document was served upon counsel of
 record on October 22, 2013, by electronic and/or ordinary mail.

                           S/LaShawn R. Saulsberry
                           Case Manager


                                           4
